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                                     #:42011


 1   JEFFREY BOSSERT CLARK
 2   Acting Assistant Attorney General
     Civil Division
 3   AUGUST E. FLENTJE
 4   Special Counsel
     WILLIAM C. PEACHEY
 5   Director, District Court Section
 6   Office of Immigration Litigation
     WILLIAM C. SILVIS
 7   Assistant Director, District Court Section
 8
     Office of Immigration Litigation
     SARAH B. FABIAN
 9   NICOLE N. MURLEY
10
     Senior Litigation Counsel
           Tel: (202) 532-4824
11         Fax: (202) 305-7000
12
           Email: Sarah.B.Fabian@usdoj.gov

13   Attorneys for Defendants
14
                            UNITED STATES DISTRICT COURT
15                FOR THE CENTRAL DISTRICT OF CALIFORNIA
16    JENNY LISETTE FLORES; et al.,               Case No. CV 85-4544-DMG
17
              Plaintiffs,
18
                                                  JOINT STATUS REPORT
19
                   v.

20    WILLIAM P. BARR, Attorney General
21
      of the United States; et al.,

22
              Defendants.
23

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 1
           On October 26, 2020, the Court ordered that the parties should continue to
 2   meet and confer regarding:
 3          (1) preparation of a poster or other methods by which to disseminate
 4
            the Notice of Rights and other suggestions of Amici for notice process;
            (2) video conference interviews with Class Members and video
 5          inspections of the FRCs; (3) provision of information of the reasons
 6
            for placement of Class Members in a particular detention facility. The
            parties also shall meet and confer regarding the need for Defendants’
 7          Motion to Lift Restriction in Paragraph 4.e of the June 26, 2020 Order
            [Doc. # 1006] in light of the Court’s statements at the status
 8
            conference. The parties shall provide an update on these discussions in
 9          a Joint Status Report to be filed by November 23, 2020.
10
     ECF No. 1014, ¶ 4. In accordance with the Court’s order, the parties submit the
11
     following updates.
12

13   (1) preparation of a poster or other methods by which to disseminate the Notice of
14   Rights and other suggestions of Amici for notice process

15         The parties continue to meet and confer regarding the Notice of Rights and
16   will continue to discuss this topic as appropriate as part of these ongoing discussions.
17

18   (2) video conference interviews with Class Members and video inspections of the
     FRCs
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20         From November 3-10, 2020, Plaintiffs conducted video conference interviews
21   with Class Members and video inspections at all three of the ICE FRCs.
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 1   (3) provision of information of the reasons for placement of Class Members in a
 2   particular detention facility
 3   PLAINTIFFS’ POSITION:
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           Settlement ¶ 28A provides: “The INS, through the Juvenile Coordinator, shall
 5
     also collect information regarding the reasons for every placement of a minor in a
 6
     detention facility or medium security facility.” Settlement ¶ 29 provides: “[T]he INS
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     shall provide to Plaintiffs’ counsel the information collected pursuant to Paragraph
 8
     28, as permitted by law, and each INS policy or instruction issued to INS employees
 9
     regarding the implementation of this Agreement.” Defendants have not reported the
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     reasons for holding Class Members (1) in CBP detention facilities, (2) in ORR
11
     facilities where Class Members are detained (i.e. not free to leave the facilities even
12
     if they are licensed), or (3) in ICE holding rooms, hotels, or transport companies
13
     under contract by ICE.
14
     DEFENDANTS’ POSITION:
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           Defendants are providing, or have committed to provide, all of the information
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     required by Paragraphs 28.A and 29 of the Agreement. Plaintiffs’ characterization
17   above of their continued requests for information is incomplete and therefore
18   misleading as to what information they continue to request. To the extent that
19   Plaintiffs continue to request that Defendants report information that is not required
20   by the Agreement, Defendants decline to provide this additional reporting.
21

22
     (4) the need for Defendants’ Motion to Lift Restriction in Paragraph 4.e of the June
     26, 2020 Order [Doc. # 1006] in light of the Court’s statements at the status
23   conference
24         This issue has been resolved by the Court’s November 12, 2020 Order, ECF
25   No. 1024.
26
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                                     #:42014


 1   DATED: November 23, 2020          /s/Peter Schey (with permission)
 2                                     Class Counsel for Plaintiffs
                                       CENTER FOR HUMAN RIGHTS &
 3                                     CONSTITUTIONAL LAW
 4                                     Peter A. Schey
                                       Carlos Holguín
 5

 6   DATED: November 23, 2020          JEFFREY BOSSERT CLARK
                                       Acting Assistant Attorney General
 7                                     Civil Division
 8
                                       AUGUST E. FLENTJE
 9                                     Special Counsel
10
                                       Civil Division

11                                     WILLIAM C. PEACHEY
12
                                       Director, District Court Section
                                       Office of Immigration Litigation
13
                                       WILLIAM C. SILVIS
14
                                       Assistant Director, District Court Section
15                                     Office of Immigration Litigation
16
                                       /s/ Sarah B. Fabian
17                                     SARAH B. FABIAN
                                       NICOLE N. MURLEY
18
                                       Senior Litigation Counsel
19                                     Office of Immigration Litigation
                                       District Court Section
20
                                       P.O. Box 868, Ben Franklin Station
21                                     Washington, D.C. 20044
                                       Tel: (202) 532-4824
22
                                       Fax: (202) 305-7000
23                                     Email: sarah.b.fabian@usdoj.gov
24
                                       Attorneys for Defendants
25

26
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                                     #:42015


 1                             CERTIFICATE OF SERVICE
 2

 3
           I hereby certify that on November 23, 2020, I served the foregoing pleading

 4   on all counsel of record by means of the District Clerk’s CM/ECF electronic filing
 5
     system.
 6

 7
                                                 /s/ Sarah B. Fabian
 8                                               SARAH B. FABIAN
 9
                                                 U.S. Department of Justice
                                                 District Court Section
10                                               Office of Immigration Litigation
11
                                                 Attorney for Defendants
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